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            EXHIBIT A
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Robinhood Markets, Inc. (HOOD)
Class Period: Pursuant/Traceable to July 2021 IPO
IPO Date: 7/30/2021                                                                                                                              12/17/2021
IPO Price: $38/share                                                                                                                             Close Price
                                                                                                                                                  $19.1000   Section 11
                                Purchase                                               Sales                                          Shares     Estimated Estimated
Plaintiff                         Date              Shares    Price      Amount        Date        Shares      Price      Amount     Retained       Value    Gain(Loss)

Ronan, Haim                          8/26/2021        5,000   $48.5000   ($242,500)   12/29/2021     (4,600)   $18.2116    $83,773
Ronan, Haim                                                                           12/29/2021       (400)   $18.2200     $7,288
Ronan, Haim                                           5,000              ($242,500)                  (5,000)               $91,061          0                  ($98,939)

Tanas, Igor                         10/20/2021        1,200   $42.1028    ($50,523)   10/20/2021     (1,250)   $41.8450    $52,306
Tanas, Igor                         10/20/2021        1,250   $41.5897    ($51,987)   10/21/2021     (1,200)   $43.1080    $51,730
Tanas, Igor                         10/21/2021        1,200   $41.9565    ($50,348)   11/03/2021       (750)   $36.7149    $27,536
Tanas, Igor                         10/21/2021        1,250   $41.6463    ($52,058)   11/08/2021       (750)   $37.1967    $27,898
Tanas, Igor                         10/27/2021          750   $35.9769    ($26,983)   12/02/2021       (500)   $23.9603    $11,980
Tanas, Igor                         11/05/2021          750   $37.0999    ($27,825)
Tanas, Igor                         11/09/2021        1,300   $36.9300    ($48,009)
Tanas, Igor                         12/02/2021          500   $23.7857    ($11,893)
Tanas, Igor                                           8,200              ($319,626)                  (4,450)              $171,450       3,750      $71,625    ($57,835)

Ronan, Haim and Tanas, Igor                          13,200              ($562,126)                  (9,450)              $262,511      3,750       $71,625   ($156,773)
